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                           Affidavit of Amy Landau
         In accordance with 28 U.S.C. § 1746,1, Amy Landau, declare under
   penalty of perjury of the laws of the United States of America, and state
   upon personal knowledge that:

     • ’ On December 9, 2021, there was an AFLDS Board of Directors
   Meeting at the Peninsula Hotel in Beverly Hills, CA. In attendance at this
   meeting were: Simone Gold, MD, JD, Joey Gilbert, Esq, Pastor Jurgen
   Matthesius, Sheriff Richard Mack, Royce Hood, Esq, Troy Brewer, CP A,
   Roque Espinal, MD, Drew Kachurak, Evan Landau, Jared Lewin, and 1 aula
    Lentz and me, Amy Landau.
       • At the December 9, 2021 meeting, AFLDS was introduced to Pastor
    Jurgen Matthesius and Sheriff Richard Mack. The introduction included
    reports on how AFLDS was started, what it had accomplished, and its
    mission.
        • At the December 9, 2021 meeting, Royce Flood, Esq. made a motion
    to add Pastor Jurgen Matthesius and Sheriff Richard Mack to the AFLDS
    Board of Directors in a pri vate session including Simone Gold, MD, ID,
    Joey Gilbert, Esq, and me, Amy Landau. The vote was unanimous in favoi
    of adding Pastor Jurgen Matthesius and Sheriff Richard Mack to the
    AFLDS Board of Directors.
       . On February 2, 2022, an AFLDS Board of Directors Meeting was
    held via Zoom conference. In attendance at this meeting were: Simone
    Gold, MD, JD, Joey Gilbert, Esq, Pastor Jurgen Matthesius, Sheriff Ri chai d
    Mack, Chris Vaught, Esq. and George Wentz, Esq. and me, Amy Landau.

       • At the February 2, 2022 meeting, Simone Gold, MD, JD, offered her
    resignation as CEO of AFLDS. She also resigned from the AFLDS Board of
    Directors.
        . At the February 2, 2022 meeting, Simone Gold, MD, JD,
    recommended to the board of directors that they appoint me, Amy Landau,
    to the position of executive director of AFLDS. Simone Gold also
    recommended that Joey Gilbert, Esq, be appointed Chairman of the Board
     of AFLDS.


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      • At the February 2, 2022 meeting, the Board of Directors appointed
   me, Amy Landau, to the position of Executive Director of AFLDS. I
   accepted the executive director position and resigned from the board °
   directors of AFLDS.
      ® At the February 2, 2022 meeting, Joey Gilbert, Esq, accepted the
   position of Chairman of the Board of AFLDS.
     . At the February 2, 2022 meeting, the remaining members of the
   Board of Directors moved that Simone Gold continue to serve as a
   marketing consultant for AFLDS. Simone Gold accepted the role as a
   marketing consultant. Board members agreed that a discussion regarding
   Simone Gold’s consulting fees would be the topic of a future AFLDS board
   meeting to include Joey Gilbert, Esq, Pastor Jurgen Matthesius, and Sheriff
   Richard Mack.
       • On February 9, 2022, there was an AFLDS leadership meeting at the
    AFLDS Team House located at 799 104th Ave N, Naples, FL, 34108. The
    meeting was personally attended by Simone Gold, MD, JD, Lara Ramos,.
    Paula Lentz, Rafael Rolim, Drew Kachurak, Pastor Jearlyn Dennie, Kristine
    Lutzo, Irene Williams, and me, Amy Landau.
       • At the February 9, 2022 leadership meeting, Simone Gold, MD, JD,
    announced to everyone present that she had resigned from AFLDS and
    resigned from the AFLDS Board of Directors. Simone Gold further,
    announced that I, Amy Landau, was the new Executive Director of AFLDS.
    She also announced that Joey Gilbert, Esq, had been appointed as Chairman
    of the Board of AFLDS.
       . After the February 9, 2022 leadership meeting, I began acting in my
    role as Executive Director of AFLDS. During the first two weeks of my new
    role, Simone Gold, MD, JD, continued to micromanage AFLDS' day-to-day
    operations.
       • On February 26, 2022,1 flew to Naples, Florida to meet with
    Simone Gold face-to-face to ask her to discontinue her daily involvement
    and allow me to proceed in my role. Simone Gold agreed to reduce her
    involvement and that I should remain in the role.
        ®   Even after Simone Gold agreed to allow me to act in my position,

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   nothing changed. Simone Gold continued to micromanage day-to-day
   operations, making the executive director position untenable for me. 1
   resigned on March 7, 2022.
     I affirm and declare under penalty of perjury under the laws of the
   United States of America that the foregoing is true and correct.
      Executed on: /V §                  °2Z



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                      —
                                          Amy Landau




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